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                                                                                   FILED
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                                                                 OCT 11 2017
                                   EASTERN DIVISION                             U.S. DISTRICT COURT
                                                                              EASTERN DISTRICT OF MO
                                                                                      ST. LOUIS
 UNITED STATES OF AMERICA,                         )
                                                   )
 Plaintiff,                                        )
                                                   )~-------------~


 v.

 DANIEL HARRIS,
                                                   r 4: 17CR455 JAR/DDN
                                                   )
                                                   )
 Defendant.                                        )

                                         INDICTMENT
                                          COUNT ONE
        The Grand Jury charges that:

        On or about March 15, 2017, in the City of St. Louis, within the Eastern District of

Missouri,

                                           DANIEL HARRIS,

the defendant herein, by force and violence, or by intimidation, takes from the person and

presence of an employee of St. Louis Community Credit Union, United States currency,

belonging to and in the care, custody, control, management and possession of the St. Louis

Community Credit Union, a credit union whose deposits were then insured by the National

Credit Union Administration Board.

        In violation of Title 18, United States Code, Section 2113(a).

                                                             A TRUE BILL



                                                             FOREPERSON
JEFFERY B. JENSEN
Acting United States Attorney



LINDA LANE,# 0011451IA
Assistant United States Attorney
